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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-97-02-JL

Trisha A. Gerard


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

197 ) filed by defendant is granted; Final Pretrial is rescheduled

to 9/29/10 at 3:00pm; Trial is continued to the two-week period

beginning 10/5/10, 09:30.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           _______________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date:     August 27, 2010




cc:   Jennifer C. Davis, AUSA
      Stanley W. Norkunas, Esq.
      U.S. Marshal
      U.S. Probation
